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 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 1:16-cr-00001 LJO-SKO
12                                Plaintiff,              STIPULATION TO CONTINUE
                                                          STATUS CONFERENCE; FINDINGS
13   v.                                                   AND ORDER
14   LORITA MARIE ROCHA, and                              DATE: November 21, 2016
     NEREIDA RODRIGUEZ,                                   TIME: 1:00 p.m.
15                                                        JUDGE: Hon. Sheila K. Oberto
                                  Defendants.
16

17
                                                STIPULATION
18
            The United States of America, by and through its counsel of record, and defendants, by and
19
20 through their counsel of record, hereby stipulate as follows:

21          1.     By previous order, this matter was set for a status conference on September 19, 2016

22 at 1:00 p.m.

23
            2.     By this stipulation, defendants now move to continue the status conference until
24
     November 21, 2016 at 1:00 p.m. before Judge Oberto, and to exclude time between the date of this
25
     stipulation and November 21, 2016 under 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv).
26
     The government joins in this request.
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28          3.     The parties agree and stipulate, and request that the Court find the following:
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            a.      The government has represented that the discovery associated with this case thus far
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     includes over 11,000 pages of discovery, including investigative reports and related documents. All
 2

 3 of this discovery has been either produced directly to counsel and/or made available for inspection

 4 and copying.

 5          b.      Counsel for defendants Lorita Rocha and Nereida Rodriguez desire additional time in
 6
     preparation of this case. Defense counsel needs additional time to conduct investigation and have
 7
     further settlement negotiations with the government. Defense counsel for Lorita Rocha intends to
 8
     make further inquiries to the government regarding the discovery production and needs additional
 9

10 time to do so. The government anticipates responding to counsel’s requests in the interim time

11 period. The government will also shortly produce certain non-Rule 16 supplemental discovery,

12 including co-conspirator statements, if any, and related documentation. After this interim time

13 period and the production of supplemental discovery, the parties will be appropriately positioned to

14
     evaluate plea resolutions and/or timing of a trial date. Thus, the requested continuance will conserve
15
     time and resources for the parties and the court. Following this request for continuance, the parties
16
     intend to propose a mutually agreeable trial date, if applicable, at the next status conference.
17

18          c.      Counsel for defendants believe that failure to grant the above-requested continuance

19 would deny them the reasonable time necessary for effective preparation, taking into account the
20 exercise of due diligence.

21
            d.      The government does not object to, and joins in the request for, the continuance.
22
            e.      Based on the above-stated findings, the ends of justice served by continuing the case
23
     as requested outweigh the interest of the public and the defendant in a trial within the original date
24
     prescribed by the Speedy Trial Act.
25
26          f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

27 seq., within which trial must commence, the time period of the date of this stipulation to November

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     21, 2016, inclusive, is deemed excludable pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and
 1
     3161(h)(7)(B)(i) and (iv) because it results from a continuance granted by the Court at defendants’
 2

 3 request on the basis of the Court's finding that the ends of justice served by taking such action

 4 outweigh the best interest of the public and the defendants in a speedy trial.

 5          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of
 6
     the Speedy Trial Act dictate that additional time periods are excludable from the period
 7
     within which a trial must commence.
 8
 9

10 IT IS SO STIPULATED.

11 DATED:           September 15, 2016

12
                                           /s/Roger S. Bonakdar
13                                         ROGER S. BONAKDAR
                                           Counsel for Defendant
14                                         LORITA MARIE ROCHA

15
     DATED:         September 15, 2016
16

17                                         /s/Nicholas J. Capozzi
                                           NICHOLAS J. CAPOZZI
18                                         Counsel for Defendant
                                           NEREIDA RODRIGUEZ
19
     DATED:         September 15, 2016
20

21                                         /s/ Henry Z. Carbajal III
                                           HENRY Z. CARBAJAL III
22                                         Assistant United States Attorney

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 1                                                 ORDER
 2          The parties’ request for a continuance is DENIED. This case has been pending since January
 3 2016. At the status conference on May 31, 2016, the Court set a further status conference on

 4
     September 19, 2016, and asked the parties to be prepared to set the case for trial at the next status
 5
     conference.
 6
            The Court understands the need for the defense to conduct additional investigation and for
 7

 8 the parties to obtain information so they may properly evaluate the case. This does not, however,
 9 preclude the setting of a trial date. The Court will accommodate the parties’ request for a trial date

10 that provides them sufficient time to conduct further investigations and engage in plea negotiations.

11

12 IT IS SO ORDERED.

13 Dated:      September 15, 2016                                  /s/   Sheila K. Oberto             .
14                                                      UNITED STATES MAGISTRATE JUDGE

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